               Case 17-18916-RAM         Doc 30     Filed 10/06/17     Page 1 of 16



                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov


In re:                                                               Chapter 13
                                                                     Case No.: 17-18916-RAM
RUTH GATTO,

         Debtors.
                                     /


                    BSI FINANCIAL SERVICES, AS SERVICING
                  AGENT FOR HMC ASSETS, LLC SOLELY IN ITS
               CAPACITY AS SEPARATE TRUSTEE FOR COMMUNITY
            DEVELOPMENT FUND I TRUST’S MOTION FOR RELIEF FROM
         STAY TO ENFORCE CONSENT FINAL JUDGMENT OF FORECLOSURE


         BSI Financial Services, as Servicing Agent for HMC Assets, LLC, solely in its Capacity

as Separate Trustee of Community Development Fund I Trust’s (“Secured Creditor” and/or

“HMC Assets LLC”), its successor and/or assigns, by its undersigned counsel, hereby moves

pursuant to 11 U.S.C. § 362 for relief from the automatic stay in order to enforce a Consent Final

Judgment of Foreclosure and exercise its non-bankruptcy rights with respect to certain real

property mortgaged by Ruth Gato to Secured Creditor. In support thereof, the Secured Creditor

states as follows:

         1.     On November 2, 2014, a foreclosure action was commenced in the Circuit Court

of the 11th Judicial Circuit In & For Miami-Dade County and which said action ultimately

resulted in the entry of a Consent Final Judgment of Foreclosure, entered on March 17, 2016, in

the amount of $277,088.79 (the “Final Judgment”) against the Debtor Ruth Gato (the “Debtor”).

A true and correct copy of the recorded Final Judgment is attached as Exhibit "A".

         2.     The Debtor is the owner of or holds an interest in the Property.


                                            Page 1 of 5
              Case 17-18916-RAM         Doc 30     Filed 10/06/17    Page 2 of 16
                                                                            Case No.: 17-18916-RAM


       3.      The Final Judgment further confirms Secured Creditor’s interest in the real

property commonly described as 11607 S.W. 90th Terrace, Miami, FL 33176 (the “Property”)

and with the legal description as follows:

       LOT 21, VALLEYS OF KENDALL, ACCORDING TO THE PLAT
       THEREOF RECORDED IN PLAT BOOK 121, PAGE 20, OF THE PUBLIC
       RECORDS OF MIAMI-DADE COUNTY, FLORIDA

       4.      Secured Creditor is presently due and owing the full judgment amount of

$277,088.79 pursuant to the Final Judgment.

       5.      Secured Creditor asserts that the Property lacks any equity and that the current

estimated market value of the Property is $204,640.00, and of which said valuation is based upon

by the Miami-Dade County Property Appraiser's current 2017 market valuation (the “Property

Valuation”). A copy of the Property Valuation is attached hereto as Exhibit “B”.

       6.      An Affidavit of Indebtedness in support of the Motion is attached as Exhibit “C”.

       7.      Secured Creditor asserts that the Property is diminishing and decreasing in value

and continues to do so by virtue of the continued use of the Property by the debtor and co-debtor

without payments to Secured Creditor and given the current market history in the area in which

the Property is located.

       8.      A review of the Debtor’s Schedules and Plan reflects that the Property is listed on

Schedule A, is claimed as exempt on Schedule C and that the Debtor is surrendering the

Property.

       9.      Secured Creditor is entitled to enforce the Note and Mortgage. The Note and

Mortgage were surrendered to the Court when the Consent Final Judgment was entered.

       10.     Secured Creditor is entitled to stay relief under § 362(d)(1), since Secured

Creditor’s interest in the Property is not being adequately protected. Additionally, Secured

                                           Page 2 of 5
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                                                                            Case No.: 17-18916-RAM


Creditor is entitled to relief from the stay under § 362(d)(2) because there is no equity in the

Property and the Property is not necessary for an effective reorganization of the Debtor.

       11.     If the Court lifts the stay that it should also waive the requirement of Bankruptcy

Rule 4001(a)(3), therefore allowing an Order to be effective upon this Honorable Court's

signature and Secured Creditor to pursue its in rem remedies without further delay.

       12.     A copy of a proposed Order is attached hereto as Exhibit “D”.

       WHEREFORE, Secured Creditor, respectfully requests that this Court enter an Order (i)

granting Secured Creditor’s relief from the automatic stay as to BSI Financial Services, as

Servicing Agent for HMC Assets, LLC, solely in its Capacity as Separate Trustee of Community

Development Fund I Trust so as to allow Secured Creditor to enforce its in rem remedies against

the Property, (ii) waiving the time requirements under Rule 4001(a)(3) of the Federal Rules of

Bankruptcy Procedure so that it may immediately continue and complete its state court

foreclosure proceedings, and allow the state court to enter all necessary orders, judgments, and

decrees associated therewith, (iii) together with such other relief that this Honorable Court may

deem just and proper.

Dated: October 6, 2017.

                                             Respectfully Submitted,

                                             /s/ Chase A. Berger
                                             Chase A. Berger
                                             Fla. Bar No. 083794
                                             chase@bergerfirm.com
                                             BERGER FIRM P.A.
                                             Counsel for Secured Creditor
                                             3050 Biscayne Boulevard - Suite 402
                                             Miami, FL 33137
                                             Telephone: (305) 501.2808
                                             Facsimile: (954) 780.5578


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                                                                               Case No.: 17-18916-RAM


                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 6, 2017, I electronically filed the

foregoing document as counsel for Creditor, BSI Financial Services, as Servicing Agent for

HMC Assets, LLC, solely in its Capacity as Separate Trustee of Community Development

Fund I Trust, with the Clerk of the Court using CM/ECF.

          I also certify that the foregoing document is being served this day on all counsel of record

or pro se parties identified on the attached Service List/Matrix in the manner specified, either via

transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

manner for those counsel or parties who are not authorized to receive electronically Notices of

Filing.


                                                /s/ Chase A. Berger
                                                Chase A. Berger
                                                Fla. Bar No. 083794




                                         SERVICE ORDER

Debtor                                                          Debtor’s Counsel
Ruth Gatto                                                      Christian S Diaz
10892 S.W. 153rd Avenue                                         9370 S.W. 72nd Street - #A110
Miami, FL 33196                                                 Miami, FL 33173

Trustee                                                         U.S. Trustee
Nancy K. Neidich                                                Office of the US Trustee
P.O. Box 279806                                                 51 S.W. 1st Avenue - Suite 1204
Miramar, FL 33027                                               Miami, FL 33130

Albertelli Law                                                  Diego Gatto
P.O. Box 23028                                                  c/o C Anthony Rumore, P.A.
Tampa, FL 33623                                                 515 S.W. 1st Avenue
                                                                Fort Lauderdale, FL 33301

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                                                                     Case No.: 17-18916-RAM


Domingo Gatto                                           Ruth Gatto
c/o C Anthony Rumore, P.A.                              c/o C Anthony Rumore, P.A.
515 S.W. 1st Avenue                                     515 S.W. 1st Avenue
Fort Lauderdale, FL 33301                               Fort Lauderdale, FL 33301

Lyssa Gatto
11607 S.W. 90th Terrace
Miami, FL 33176

Mortgage Electronic Registration Systems, Inc., as
nominee for First Magnus Financial Corporation
c/o Registered Agent, CT Corporation System
1200 S. Pine Island Road
Plantation, FL 33324

Valleys of Kendall Homeowners Association, Inc.
c/o Registered Agent, Manhattan Property
Management, Inc
9001 S. Dadeland Boulevard, Suite 1500
Miami, FL33156




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                                    EXHIBIT "A"


https://www2.miami-dadeclerk.com/Public-Records/PrintDocument.aspx?QS=MwKnucJT... 3/22/2016
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                                                                                            CFN 20160166434 BOOK 30005 PAGE 1925



                        association pursuant to sections 718.116 or 720.3085 of the Florwa '.ataaies, 01de1s arising out of 1c         {
                       "fQ,edos11re to ieeh1ile pc" itting a 5µpplemeotal een1plaiut to add an ittte,est A9ld.@rs aRrii/er, er:elers '
                       jnvolvipg refonnatiop of the mortgage iAstrwucnt or deed cu pc.fcct-Mtle.

                 IF THIS PROPERTY IS SOLD AT PUBLIC AUCTION, THERE MAY BE ADDITIONAL MONEY FROM THE
                 SALE AFTER PAYMENT OF PERSONS WHO ARE ENTITLED TO BE PAID FROM THE SALE PROCEEDS
                 PURSUANT TO THE FINAL JUDGMENT.

                 IF YOU ARE A SUBORDINATE LIENHOLDER CLAIMING A RIGHT TO FUNDS REMAINING AFTER THE
                 SALE, YOU MUST FILE A CLAIM WITH THE CLERK NO LATER THAN SIXTY (60) DAYS AFTER THE SALE.
                 IF YOU FAIL TO FILE A CLAIM, YOU WILL NOT BE ENTITLED TO ANY REMAINING FUNDS.

                IF YOU ARE THE PROPERTY OWNER, YOU MAY CLAIM THESE FUNDS YOURSELF. YOU ARE NOT
                REQUIRED TO HAVE A LAWYER OR ANY OTHER REPRESENTATION AND YOU DO NOT HAVE TO
                ASSIGN YOUR RIGHTS TO ANYONE ELSE IN ORDER FOR YOU TO CLAIM ANY MONEY TO WHICH YOU
                ARE ENTITLED. PLEASE CHECK WITH THE CLERK OF THE COURT, 140 WEST FLAGLER STREET, ROOM
                908, MIAMI, FL (TELEPHONE : (305) 375-5943), WITHIN TEN ( I0) DAYS AFTER THE SALE TO SEE IF THERE
                IS ADDITIONAL MONEY FROM THE FORECLOSURE SALE THAT THE CLERK HAS IN THE REGISTRY OF
                THE COURT.

                IF YOU DECIDE TO SELL YOUR HOME OR HIRE SOMEONE TO HELP YOU CLAIM THE
                ADDITIONAL MONEY, YOU SHOULD READ VERY CAREFULLY ALL PAPERS YOU ARE REQUffiED
                TO SIGN, ASK SOMEONE ELSE, PREFERABLY AN ATTORNEY WHO IS NOT RELATED TO THE
                PERSON OFFERING TO HELP YOU, TO MAKE SURE THAT YOU UNDERSTAND WHAT YOU ARE
                SIGNING AND THAT YOU ARE NOT TRANSFERRING YOUR PROPERTY OR THE EQUITY IN YOUR
                PROPERTY WITHOUT THE PROPER INFORMATION. IF YOU CANNOT AFFORD TO PAY AN
                ATTORNEY, YOU MAY CONTACT THE LEGAL AID SOCIETY AT THE DADE COUNTY BAR
                ASSOCIATION, 123 NW 1ST AVENUE, SUITE 214, MIAMI, FL 33128 (TELEPHONE: (305)-579-5733), TO
                SEE IF YOU QUALIFY FINANCIALLY FOR THEIR SERVICES. IF THEY CANNOT ASSIST YOU,
                THEY MAY BE ABLE TO REFER YOU TO A LOCAL BAR REFERRAL AGENCY OR SUGGEST OTHER
                OPTIONS, IF YOU CHOOSE TO CONTACT TH DADE COUNTY BAR ASSOCIATION LEGAL AID
                SOCIETY; YOU SHOULD DO SO AS SOON AS O SIBLE AFTER RECEIPT OF THIS NOTICE.




                Copies furnished to:                                                     MAR 17 2016
                Albertelli Law
                P.O. Box 23028                                                          JON I.GORDON
                Tampa, FL 33623                                                         SENIOR JUDGE
                eService: servealaw@albertellilaw.com

                Diego Gatto
                c/o C Anthony Rumore, P A
                515 Southwest I st Avenue
                Fort Lauderdale, FL 33301
                E-Serve I: pleadings@rumorelaw.com, E-Serve 2: laprea@rumorelaw.com




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                                                                                           CFN 201601 66434 BOOK 30005 PAGE 1926




                 Domingo Gatto
                 c/o C Anthony Rumore, P A
                 515 Southwest 1st Avenue
                 Fort Lauderdale, FL 33301
                 E-Serve I: pleadings@rumorelaw.com, E-Serve 2: Japrea@rumorelaw.com

                 Ruth Gatto
                 c/o C Anthony Rumore, P A
                 515 Southwest 1st Avenue
                 Fort Lauderdale, FL 33301
                 E-Serve I: pleadings@rumorelaw.com, E-Serve 2: laprea@rumorelaw.com

                 Mortgage Electronic Registration Systems, Inc., as nominee for First Magnus Financial Corporation
                 c/o Registered Agent, CT Corporation System
                 1200 S Pine Island Road
                 Plantation, FL 33324

                 Unknown Tenant #1 nka Lyssa Gatto
                 11607 SW 90th Terrace
                 Miami, FL 33176

                 Valleys of Kendall Homeowners Association, Inc.
                 c/o Registered Agent, Manhattan Property Management, Inc
                 9001 S Dadeland Boulevard, Suite 1500
                 Miami, FL33156




https://www2.miami-dadeclerk.com/Public-Records/PrintDocument.aspx?QS=MwKnucJT... 3/22/2016
 10/2/2017                                                    Property
                                              Case 17-18916-RAM    Doc Search
                                                                          30Application
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                                                                                        Miami-Dade County
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                   When buying real estate property, you should not assume that property taxes will remain the same. Whenever there is a change in ownership, the assessed value of the property may reset to full
Important          market value, which could result in higher property taxes. Please use our Tax Estimator to approximate your new property taxes.
 Message
                   The Property Appraiser does not send tax bills and does not set or collect taxes. Please visit the Tax Collector's website directly for additional information.



       Address            Owner Name          Folio


Search:
  11607 S.W. 90th Terrace                                                                                                                                                            Suite                           


Back to Search Results



    Property Information
    Folio: 30-5006-016-0210


    Sub-Division:
     VALLEYS OF KENDALL


    Property Address
     11607 SW 90 TER
     Miami, FL 33176-1027


    Owner
     DIEGO GATTO


    Mailing Address
     11607 SW 90 TERR
     MIAMI, FL 33176-1027


    PA Primary Zone
     2800 TOWNHOUSE


    Primary Land Use
     0410 RESIDENTIAL - TOTAL VALUE : TOWNHOUSE


    Beds / Baths / Half                                                                                          3/3/0


    Floors                                                                                                       2


    Living Units                                                                                                 1


    Actual Area                                                                                                  1,790 Sq.Ft


    Living Area                                                                                                  1,512 Sq.Ft


    Adjusted Area                                                                                                1,512 Sq.Ft


    Lot Size                                                                                                     2,400 Sq.Ft


    Year Built                                                                                                   1989




                                               Zoom                                                                                                                                          Map View       Layers




 http://www.miamidade.gov/propertysearch/#/                                                                                                                                                                     1/3
10/2/2017                                       Property
                                Case 17-18916-RAM    Doc Search
                                                            30Application
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                                                                          Miami-Dade County
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                                                                                                            2016 Aerial Photography
                                                                                                                                      60ft

 Featured Online Tools

   Comparable Sales                                                 Glossary
   Non-Ad Valorem Assessments                                       PA Additional Online Tools
   Property Record Cards                                            Property Search Help
   Property Taxes                                                   Report Discrepancies
   Report Homestead Fraud                                           Tax Comparison
   Tax Estimator                                                    TRIM Notice
   Value Adjustment Board




  Assessment Information
 Year                                                                          2017                  2016                                    2015

 Land Value                                                                       $0                   $0                                     $0

 Building Value                                                                   $0                   $0                                     $0

 Extra Feature Value                                                              $0                   $0                                     $0

 Market Value                                                              $204,640              $204,640                               $186,040

 Assessed Value                                                            $138,451              $135,604                               $134,662




  Taxable Value Information
                                                                               2017                 2016                                     2015

 COUNTY

  Exemption Value                                                          $50,000               $50,000                                 $50,000

  Taxable Value                                                            $88,451               $85,604                                 $84,662

 SCHOOL BOARD

  Exemption Value                                                          $25,000               $25,000                                 $25,000

  Taxable Value                                                           $113,451               $110,604                               $109,662

 CITY

  Exemption Value                                                                 $0                  $0                                      $0

  Taxable Value                                                                   $0                  $0                                      $0




http://www.miamidade.gov/propertysearch/#/                                                                                                     2/3
10/2/2017                                                    Property
                                             Case 17-18916-RAM    Doc Search
                                                                         30Application
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                                                                                       Miami-Dade County
                                                                                                    Page 12 of 16


 REGIONAL

   Exemption Value                                                                                                               $50,000                                     $50,000             $50,000

   Taxable Value                                                                                                                 $88,451                                     $85,604             $84,662




   Benefits Information
 Benefit                                                                 Type                                                                                        2017                2016      2015

 Save Our Homes Cap                                                      Assessment Reduction                                                                     $66,189              $69,036   $51,378

 Homestead                                                               Exemption                                                                                $25,000              $25,000   $25,000

 Second Homestead                                                        Exemption                                                                                $25,000              $25,000   $25,000

 Note: Not all benefits are applicable to all Taxable Values (i.e. County, School Board, City, Regional).




   Full Legal Description
 VALLEYS OF KENDALL

 PB 121-20

 LOT 21

 LOT SIZE 2400 SQ FT

 & INT IN COMMON AREA

 OR 18000-0703 0298 1

 COC 25838-1502 08 2007 5




   Sales Information
 Previous Sale                                       Price                OR Book-Page                                                                 Qualification Description

 08/01/2007                                             $0                  25838-1502               Sales which are disqualified as a result of examination of the deed

 06/01/2006                                      $312,000                   24700-3834               Sales which are qualified

 02/01/1998                                      $117,700                   18000-0703               Sales which are qualified

 03/01/1996                                             $0                  17149-2231               Sales which are disqualified as a result of examination of the deed

 11/01/1992                                      $104,000                   15747-0531               Sales which are qualified

 05/01/1990                                       $95,500                     14537-85               Sales which are qualified

 09/01/1987                                      $144,000                    13405-470               Deeds that include more than one parcel

 For more information about the Department of Revenue's Sales Qualification Codes.




   Additional Information
 * The information listed below is not derived from the Property Appraiser's Office records. It is provided for convenience and is derived from other government agencies.




http://www.miamidade.gov/propertysearch/#/                                                                                                                                                            3/3
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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

In re:                                                       Chapter 13
                                                             Case No.: 17-18916-RAM
RUTH GATTO
         Debtor.
-------------�/
             AFFIDAVIT OF INDEBTEDNESS IN SUPPORT OF BSI
     FINANCIAL SERVICES, AS SERVICING AGENT FOR HMC ASSETS, LLC
     SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE FOR COMMUNITY
     DEVELOPMENT FUND I TRUST'S MOTION FOR RELIEF FROM STAY TO
         ENFORCE CONSENT FINAL JUDGMENT OF FORECLOSURE

STATE OF TEXAS                  )
                                        ) ss.:
COUNTY OF DALLAS                    )

         BEFORE ME, the undersigned authority duly authorized to administer oaths and to take

testimony, personally appeared _K_ar_i_· n_Mu_r_p_h_Y__who, being first duly sworn, deposes and

says that:

         1.                                      h __.• I am over the age of eighteen (18) yea rs and
                My name is __K _a_r_i_n_M _u_r_p_Y
otherwise competent to execute this Affidavit.

         2.     I am the Bankruptcy Asset Manager of Secured Creditor, BSI Financial Services,

as Servicing Agent for HMC Assets, LLC, solely in its Capacity as Separate Trustee of

Community Development Fund I Trust.

         3.        The facts and information contained in this Affidavit are made and based upon

my personal knowledge of the books and business records with r espect to the matters set forth in

BSI Financial Services, as Servicing Agent for HMC Assets, LLC, solely in its Capacity as

 Separate Trustee of Community Development Fund I Trust's Motion for Relief From Stay to

 Enforce Consent Final Judgment of Foreclosure (the "Motion") filed in this action.


                                           EXHIBIT "C"
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                                    Chapter 13

RUTH GATTO                                                Case No. 17-18916-RAM

      Debtor.
_________________________________/

        ORDER ON BSI FINANCIAL SERVICES, AS SERVICING AGENT
   FOR HMC ASSETS, LLC SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE
    OF COMMUNITY DEVELOPMENT FUND I TRUST’S MOTION FOR RELIEF
   FROM STAY TO ENFORCE CONSENT FINAL JUDGMENT OF FORECLOSURE

         THIS MATTER came before the Court on __________, 2017 upon BSI Financial

Services, as Servicing Agent for HMC Assets, LLC, solely in its Capacity as Separate Trustee of

Community Development Fund I Trust’s Motion for Relief From Stay to Enforce Consent Final

Judgment of Foreclosure (D.E. #_)(the “Motion”). The Court, being otherwise duly advised in

the premises, it is, hereby,

         ORDERED, as follows:

         1.     The Motion is GRANTED, as set forth herein.




                                     EXHIBIT “D”
             Case 17-18916-RAM            Doc 30   Filed 10/06/17     Page 16 of 16
                                                                         CASE No. 17-18916-RAM


       2.       The Automatic Stay is lifted to allow BSI Financial Services, as Servicing Agent

for HMC Assets, LLC, solely in its Capacity as Separate Trustee of Community Development

Fund I Trust (“Secured Creditor”), so as to allow Secured Creditor to enforce its Final Judgment

of Foreclosure and allow the state court to enter all necessary orders, judgments, and decrees

associated therewith, on real property legally described as:

       LOT 21, VALLEYS OF KENDALL, ACCORDING TO THE PLAT
       THEREOF RECORDED IN PLAT BOOK 121, PAGE 20, OF THE PUBLIC
       RECORDS OF MIAMI-DADE COUNTY, FLORIDA

       3.       This relief is in rem only in order to complete state court foreclosure proceedings

through certificate of title and possession of the Property; however, BSI Financial Services, as

Servicing Agent for HMC Assets, LLC, solely in its Capacity as Separate Trustee of Community

Development Fund I Trust’s shall not seek any in personam relief against the debtor without

further order of the Court.

       4.       The Court waives the time requirements under Rule 4001(a)(3) and deems the

relief from stay effective immediately.

       5.       The Court shall retain jurisdiction over this matter to consider and enter such

further relief necessary to enforce the terms and conditions of this Order.

                                                    ###

Submitted by:

Chase A. Berger, Esq.
Florida Bar No. 083794
chase@bergerfirm.com
BERGER FIRM P.A.
3050 Biscayne Boulevard - Suite 402
Miami, FL 33137
Telephone: (305) 501-2808 / Facsimile: (954) 780-5578

Copies furnished to:
Chase A. Berger, Esq.
[Mr. Berger shall serve a conformed copy of this order upon all interested parties.]


                                                -2-
